






NO. 07-02-0314-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



NOVEMBER 26, 2003


______________________________



CHARLES L. CARR, 



									Appellant


v.



TEXAS DEPARTMENT OF CRIMINAL JUSTICE, 


	

									Appellee

_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 86,950-E; HON. ABE LOPEZ, JUDGE


________________________________





Memorandum Opinion


________________________________



Before JOHNSON, CJ., and QUINN and REAVIS, JJ.  

	Appellant Charles L. Carr (Carr), an indigent inmate in the Texas Department of
Criminal Justice (the Department), appeals from an order dismissing his suit for want of
prosecution.  Through two issues, he contends that the trial court abused its discretion in
1) dismissing the cause, 2) granting the Department's motion to quash his deposition
notices, and 3) failing to rule on other motions filed by him. (1)  We affirm the dismissal.

			Issue One -- Dismissal for Want of Prosecution

	Standard of Review

	Whether the trial court erred in dismissing the suit depends upon whether it abused
its discretion.  MacGregor v. Rich, 941 S.W.2d 74, 75 (Tex. 1997).  It abuses its discretion
when it acts without reference to any guiding rules or principles or if the action is arbitrary
or unreasonable.  Koslow's v. Mackie, 796 S.W.2d 700, 704 (Tex. 1990); Nawas v. R &amp; S
Vending, 920 S.W.2d 734, 737 (Tex. App.--Houston [1st Dist.] 1996, no writ). 
Furthermore, if, as here, the order of dismissal specifies no reason for the dismissal other
than for want of prosecution, the dismissal must be affirmed if any proper ground supports
the decision.  Shook v. Gilmore &amp; Tatge Mfg. Co., 951 S.W.2d 294, 296 (Tex. App.--Waco
1997, pet. denied).  Thus, the appellant has the burden to address each possible reason
for dismissal and explain why none support the dismissal.  See id. (stating that one
seeking reinstatement bears the burden to show that the standard for reinstatement has
been met for all possible grounds).

	Next, a trial court may dismiss a suit for want of prosecution 1) because a party
seeking affirmative relief failed to appear for any hearing or trial of which the party had
notice, 2) because the case was not disposed of within the time standards promulgated
by the Supreme Court in its Administrative Rules, or 3) through the exercise of its inherent
power due to the lack of diligence.  Villarreal v. San Antonio Truck &amp; Equip., 994 S.W.2d
628, 630 (Tex. 1999); see Tex. R. Civ. P. 165a(1) &amp; (2) (discussing the authority of the trial
court to dismiss as provided by rule of procedure).  That the plaintiff may be acting pro se
matters not for those representing themselves have the duty to prosecute their claims with
due diligence just as do all other litigants.  Coleman v. Lynaugh, 934 S.W.2d 837, 838
(Tex. App.--Houston [1st Dist.] 1996, no writ).  Finally, the central issue to be addressed
is whether the plaintiff exercised due diligence.  MacGregor v. Rich, 941 S.W.2d at 75.

	Application of Standard	

	In applying the foregoing authority to the circumstances at bar, we first note that the
Rules of Judicial Administration direct that civil cases wherein a jury has been requested
should be disposed of within 18 months of the appearance date.  Tex. R. Jud. Admin. 6b,
reprinted in . Tex. Gov't Code Ann., tit. 2, subtit. F app. (Vernon 1998).  Here, the record
shows that Carr initiated suit in May of 1999.  The Department appeared, by filing a motion
to transfer the cause and an answer, on October 18, 1999.  The cause was eventually
dismissed on July 2, 2002.  The application of authority and simple arithmetic principles
to the aforementioned dates reveals several things.  First, the cause had been pending
(without disposition) on the trial court's docket for much more than 18 months after the
Department appeared.  Second, because it was not disposed of within that period,
Supreme Court authority entitled the trial court to dismiss it.

	Carr argues, however, that he diligently pursued his claim by requesting discovery,
amending his pleadings, seeking mediation, and filing various motions such as for
sanctions, to join parties, and to compel discovery.  Yet, review of the record illustrates
that, aside from asking the trial court to send the cause to mediation shortly before it was
dismissed, the last of his efforts to prepare the cause for disposition culminated in or
around September of 2001, or some nine months before the cause was dismissed for want
of prosecution.  In attempting to explain why the cause lay dormant for that period, he does
not say that he was prepared for and merely awaited trial.  Indeed, the record does not
reflect that he even requested that his dispute be set for trial.  Instead, he contends that
the delay was caused by the trial court's refusal to act upon various motions such as to join
parties, to compel discovery, and for sanctions.  Yet, and assuming arguendo that they
were of any substance, Carr acknowledged that he could have pursued their resolution
through mandamus and opted not to utilize that avenue. (2)  In other words, he opted to do
nothing for nine months despite his duty to act diligently. (3)  

	Similarly absent from his explanation for the delay is any suggestion that discovery
has been completed or that he has been unable to complete discovery through the means
afforded by the rules of civil procedure.  Rather, he wanted the trial court to refer the case
to mediation since he was "willing to consider a reasonable settlement out of court" and
should that not come about "allow discovery to proceed."  What discovery he
contemplated, why he did not complete it before, how long it would take him to complete
it, and what he purported to obtain through it all went unaddressed.  Nor does he specify
what "discovery issues" must be resolved before the cause can "proceed."  The only ones
reflected in the record pertain to his motion for sanctions and to compel discovery, but for
the reasons mentioned in our footnote 3, we perceive them to be untenable as well as little
obstacle to the preparation of his claims.  

	Nor are we told why his "twelve requests for the docket" exemplify diligence. 
Indeed, the record does not illustrate that any came within the nine-month period before
dismissal.  Nor does it evince why the trial court clerk's purported refusal to respond to
them prevented him from conducting discovery, preparing for trial, or requesting a trial
setting. 

	In sum, Carr had the obligation to do that reasonably necessary to secure the final
disposition of his claim.  The record contains evidence upon which the trial court could
have relied in determining that he did not fulfill his duty.  And, because the suit had not
been disposed of within 18 months from the date the Department made its appearance,
legal authority provided the trial court basis to act.  Accordingly, because its decision to
dismiss was not without basis in law or fact, the trial court did not abuse its discretion.

	Having disposed of issue one as we did renders moot issue two.  Accordingly, we
affirm the order dismissing for want of prosecution.


							Brian Quinn

							   Justice




 
1. We note that the Department did not favor us with an appellate brief responding to that of Carr. 
2. Regarding the motion to join, nowhere does he 1) allege in it that he was somehow prevented from
joining the person mentioned therein or 2) explain why he needed the court's intercession.  Indeed, it appears
that he could have simply amended his live pleading to add the individual.  Yet, he did not.  And, aside from
serving a notice of his intent to take depositions by written interrogatory, nothing appears of record
establishing that he served anyone with any other formal request for discovery which complied with the Rules
of Civil Procedure.  So, it is questionable whether he was entitled to sanctions or an order to compel due to
the Department's supposed failure to produce documents and respond to interrogatories.  And, as to the
deposition, he thought he was entitled to sanctions and an order to compel (although the trial court had
previously quashed the notice) because he expected the Department or others to arrange and pay for them. 
It was his obligation to arrange his own discovery, not that of his opponent or the court.  As to his "Motion
to Invoke Rule," he apparently sought an order deeming answers to admissions; yet, in that very same
motion he quotes the portion of the Rules of Civil Procedure declaring that admissions are considered
admitted if responses thereto are untimely and without necessity of court intervention.  Finally, nowhere does
appellant explain how the resolution of these motions or any others somehow conditioned his duty to
diligently prepare or otherwise prevented him from preparing for trial.  Nor does he allege that he had no
other avenues available to him down which he could journey to fulfill his obligation.
3. We further note the absence of any allegation suggesting that he was unable to act (due to his
prisoner status or otherwise) during the interim.   


